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                         UNITED STATES DISTRICT COURT                               JS-6
                        CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. SA CV 18-1657 DOC (ADSx)                              Date: October 31, 2018

 Title: ADAM GHADIRI V. RUBY’S DINER, ET AL.


 PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

             Deborah Lewman                                   Not Present
              Courtroom Clerk                                Court Reporter

        ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
              PLAINTIFF:                                  DEFENDANT:
                None Present                                 None Present



       PROCEEDINGS (IN CHAMBERS): ORDER STAYING PROCEEDINGS
                                  PURSUANT TO 11 U.S.C. § 362 [19]

        Before the Court is Defendant Ruby’s Diner’s (“Defendant”) Notice of Automatic
 Stay Pursuant to 11 U.S.C. § 362(a) (“Notice”) (Dkt. 19). Defendant informs the Court
 that Defendant filed a petition for relief under Chapter 11 of the Bankruptcy Code in the
 United States Bankruptcy Court for the Central District of California, Santa Ana
 Division, Case No. 18-13311. Notice at 1, 3.

        Accordingly, the Court STAYS all proceedings in this action and all pending
 motions pursuant to 11 U.S.C. § 362. Defendant is ORDERED to file an update on
 CM/ECF as to the status of the bankruptcy proceedings at an interval of every three
 months after the entry of this order. Defendant is also ORDERED to provide notice to the
 Court when the bankruptcy proceedings end. Such notice must be provided within thirty
 days of the end of those proceedings.

       The Clerk shall serve this minute order on the parties.
  MINUTES FORM 11
  CIVIL-GEN                                                         Initials of Deputy Clerk: djl
